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 7                                IN THE UNITED STATES DISTRICT COURT

 8                                   EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                            CASE NO. 1:22-CR-00331-ADA-BAM
11                                 Plaintiff,             ORDER PARTIALLY UNSEALING
                                                          INDICTMENT; FILE REDACTED COPY
12                           v.
13   VICTOR GARCIA,
14                                  Defendant.

15          The United States having applied to this Court for the indictment and arrest warrants in the
16   above-captioned proceedings to remain under seal in order to prevent the destruction of evidence and
17   flight of the target of the investigation, and the arrest warrant with respect to Victor Garcia now having
18   been executed and the need for sealing with respect to Victor Garcia having ceased;
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20          IT IS ORDERED that the indictment and arrest warrant filed in the above-entitled matter shall be
21   unsealed as to Victor Garcia; the United States shall file a copy of the indictment on the public docket
22   that is redacted to conceal the identity of the co-defendants who have not yet been apprehended.
23   The unredacted indictment shall remain sealed.

24    Dated: December       22 , 2022
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26                                                             HON. STANLY A. BOONE
                                                               U.S. MAGISTRATE JUDGE
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